Filed 8/22/24 P. v. Reyes CA5




                  NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
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               IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                       FIFTH APPELLATE DISTRICT

 THE PEOPLE,
                                                                                             F085744
           Plaintiff and Respondent,
                                                                              (Super. Ct. No. 18CMS-0440)
                    v.

 JESUS MANUEL REYES,                                                                      OPINION
           Defendant and Appellant.



         APPEAL from a judgment of the Superior Court of Kings County. Robert S.
Burns, Judge.
         Erin J. Radekin, under appointment by the Court of Appeal, for Defendant and
Appellant.
         Rob Bonta, Attorney General, Lance E. Winters, Chief Assistant Attorney General,
Michael P. Farrell, Assistant Attorney General, Eric L. Christoffersen and Robert C.
Nash, Deputy Attorneys General, for Plaintiff and Respondent.
                                                        -ooOoo-
                                     INTRODUCTION
         Petitioner Jesus Manuel Reyes petitioned the superior court, pursuant to former
section 1170.95 (now § 1172.6) of the Penal Code,1 for resentencing on his conviction for
attempted murder (§§ 187, subd. (a), 664). The court denied the petition following an
evidentiary hearing at which the court found, beyond a reasonable doubt, that petitioner
acted with intent to kill.
         On appeal, petitioner contends substantial evidence does not support the court’s
finding that he acted with intent to kill. We reject this argument and affirm the trial
court’s denial of petitioner’s section 1172.6 petition.
                                FACTUAL BACKGROUND
         The following facts are taken from the evidence at petitioner’s trial, of which the
court took judicial notice in relation to the section 1172.6 proceedings.2



         1 Undesignated statutory references are to the Penal Code. Former section
1170.95 was renumbered section 1172.6, with no change in text. (Stats. 2022, ch. 58,
§ 10.) We refer to the current section 1172.6 in this opinion.
         2 The parties stipulated that the court could review exhibit 2A from petitioner’s
trial.
       The People asked the court to take judicial notice of the transcripts from the trial.
The court declined to “read[] the entire trial transcript” and suggested the People point
the court to specific passages or lines of the transcript. Thereafter, the People submitted a
written request for judicial notice of specified portions of the transcript, copies of which
were submitted with the People’s opposition to the petition, as well as a video exhibit
(exhibit 1A) and four photographic exhibits (exhibits 8, 10, 14, and 15). The court
eventually granted this request and copies of these materials are contained in the record
on appeal.
       At the evidentiary hearing, petitioner’s counsel made an oral request for judicial
notice of additional trial transcripts and provided the court a handwritten note indicating
the requested pages. The court granted the request but also stated, “I don’t have
transcripts, you parties have them, I do not.” It therefore is apparent the court did not
review these transcripts prior to ruling. Accordingly, we do not summarize them. We
note, however, that the People, when asked, did not disagree with petitioner’s counsel’s
“summation of what she believes the testimony was.” In brief, that summation, as

                                               2.
       On March 8, 2018, petitioner was an inmate at the Kings County Jail. There, in
the dayroom of one of the pods, he and another inmate were involved in an attack on a
third inmate.
       Deputy M. McMahon responded to the incident and observed three inmates
involved in an altercation. One inmate was lying face down on the ground. Another was
on top of the first inmate, with his arms around the first inmate’s head and neck,
appearing to choke the first inmate. The third inmate was standing to the side, reaching
toward the face of the inmate on the ground. The inmate who appeared to have been
choked was identified as Alejandro G.3 The inmate doing the choking was identified as
petitioner. The third inmate was identified as Marco Garcia.
       The inmates were separated by law enforcement. Alejandro was bleeding.
McMahon described it as “the most blood I have seen from a victim inside the jail.” He
had puncture wounds on his upper back right below his neck, a laceration or cut on his
right eye, and cuts to the left side of his face.
       Petitioner was “covered in blood” but had no injuries or open wounds.4 His socks
were bloody and the bottoms of his socks were “completely covered” in blood. He was
breathing heavily and appeared fatigued.
       The incident was captured on two surveillance videos, both of which were
admitted into evidence, and one of which (exhibit 2A) constituted the primary evidence
relied on by the trial court at the section 1172.6 evidentiary hearing. Exhibit 2A depicts
an altercation lasting several minutes, in which petitioner and Garcia repeatedly beat and

reflected in her handwritten notes, is that a medical doctor opined the victim’s injuries
were superficial and did not require emergency medical attention.
       3 Pursuant to California Rules of Court, rule 8.90, we refer to some persons by
their first names or initials. No disrespect is intended.
       4 A photograph of petitioner taken after the incident shows petitioner with blood
on his chest, arms, and face, as well as a large smear of blood on the ground in the area
where the fight took place.


                                                3.
kicked Alejandro, who was either on the ground or attempting to get away. At one point,
the video depicts Garcia retrieving an object that appears to have been slid under the door
of an adjacent cell, then returning and continuing to strike Alejandro. At another point,
the video depicts petitioner holding Alejandro in an apparent chokehold while Garcia
stands by. Eventually law enforcement personnel arrived and intervened.
                                PROCEDURAL HISTORY
        An information filed on May 2, 2018, charged petitioner with premeditated
attempted murder. (§§ 187, subd. (a), 664; count 1.) The information further alleged a
great bodily injury enhancement (§ 12022.7, subd. (a)), a deadly weapon use
enhancement (§ 12022, subd. (b)(1)), and a gang enhancement (§ 186.22, subd. (b)(1)(C),
(5)).
        Petitioner proceeded to a jury trial. The deadly weapon use enhancement was
stricken on motion by the People. Ultimately, the jury deadlocked and the court declared
a mistrial.
        On October 1, 2018, petitioner entered a plea of no contest to attempted murder on
count 1 without admitting the premeditation allegation, and admitted the great bodily
injury enhancement pursuant to section 12022.7, subdivision (a) and a gang enhancement
pursuant to section 186.22, subdivision (b)(1)(C). The remaining allegations were
dismissed. On February 14, 2019, petitioner was sentenced to an aggregate term of 22
years in state prison.
        On April 1, 2022, petitioner filed a petition for resentencing pursuant to section
1172.6. Counsel was appointed to represent him. The People opposed the petition on the
ground petitioner was the actual attempted murderer as evidenced by the trial transcripts,
which petitioner stipulated constituted a factual basis for his plea. The People attached to
their opposition excerpted transcripts from petitioner’s trial and change of plea hearing.
Petitioner filed a reply, arguing that he had stated a prima facie case. The trial court



                                              4.
determined petitioner had made a prima facie claim for relief and set the matter for an
evidentiary hearing.
       The evidentiary hearing was conducted on January 30, 2023. The court stated it
had reviewed exhibit 2A based on the parties’ prior stipulation. Neither party offered
additional evidence. Petitioner’s counsel argued that the trial testimony showed the
victim’s injuries were superficial and one officer testified it was petitioner’s codefendant,
rather than petitioner, who choked the victim. The court disagreed with the latter
assertion based on the video evidence. The People argued the evidence showed petitioner
acted with the specific intent to kill. The People also asserted McMahon identified
petitioner as the person who choked the victim. Petitioner’s counsel argued the incident
was merely a fight involving mutual combat and the initial aggressor was unknown.
       The court ruled as follows:

       “I did preside over these proceedings. Mrs. [Prosecutor], where you
       indicate that there is a point in the video where you see a co-defendant take
       a break while [petitioner] continues the attack, and then eventually joins
       back in, that was not part of Exhibit 2[A], that was part of a different video,
       I do remember it. The co-defendant appeared to stop from exhaustion and
       in his attempts to kicking afterwards were feeble at best, while [petitioner]
       continued, but that is not before me.[5] That wasn’t part of Exhibit 2A. But
       in looking at Exhibit 2A I don’t think you can say it is difficult to determine
       who the aggressors were.

               “The video was lengthy. It shows the victim running from both
       [petitioner] and his coparticipant. And throughout the entire portion of the
       video I don’t recall ever seeing the victim throw a punch. I see him curling
       up running away, and there being a relentless attack upon him. When you
       look at the video it appears to me for approximately seven minutes the
       beating occurs, which is an extraordinary long period of time. [Petitioner]
       and a second inmate are chasing the victim at the beginning of the video.
       The victim falls to the ground on his hands and knees, at which time


       5 It appears video of this conduct was part of exhibit 1A. Exhibit 1A was included
in the People’s written request for judicial notice, which the court granted. However, it
appears the court did not review exhibit 1A in relation to the evidentiary hearing.


                                             5.
[petitioner] and the second inmate begin punching and kicking the victim in
the head area, his ribs, with the victim trying to cover up.

        “There is a fourth inmate who appears to slide an object underneath
his cell door at which time the second inmate assisting [petitioner] runs
over to the cell door, picks an item up off the floor, and comes back to the
victim. While that inmate is obtaining the item off the floor, the victim
prones out on his stomach. [Petitioner] pounced the victim’s back and
continues to punch the victim in the back of the head.

        “A second inmate returns and begins to make stabbing motions to
the victim in the neck and head area while [petitioner] is punching the
victim in the back of his head. Both [petitioner] and the second inmate
continue to strike the victim focusing their attack on his head and neck area.
[Petitioner] then attempts to stomp on the victim’s head. [Petitioner] again
mounts the victim’s back while continuing to punch the victim in the head,
while the second inmate also stomps on the victim’s head. The group then
moves partially off the screen where you can see the second inmate again
stomp the victim multiple times while you can see [petitioner’s] arms and
fists continuing to punch at the victim.

        “The parties are off screen for a couple of minutes and then the
camera angle changes and the victim is again mounted on the -- proned out
and on his hands and knees while [petitioner] is mounted on top of them.
[Petitioner] is again on his back with his arms around the victim’s neck
pulling upwards, and what could only be described as a choking motion.
And then the second inmate comes around and again begins to assault the
victim in the head area. There is a large smear of blood on the flooring
covering approximately six feet. [Petitioner] does not release the victim
until deputies actually appear and are standing next to him, and
[petitioner’s] arms are covered in the victim’s blood from his elbows down
to his fingertips, as well as the victim’s face and upper torso being saturated
in blood.

       “The only description of that attack that I can see is that [petitioner]
had his own separate independent intent to kill based upon, one, the
coordinated effort of three inmates to attack the one.

       “And two, the fact that the assault of both inmates focus[]ed on the
victim’s head and neck areas, which are vital areas, which stomping on,
punching in, and kicking in would only result in death if they’re successful
in those blows.




                                       6.
               “So at this time the Court finds that the People have shown beyond a
       reasonable doubt that [petitioner] harbored his own separate individual
       intent to kill the victim in this case, and the petition for resentencing is
       denied.”
                                       DISCUSSION
A.     Section 1172.6 Procedure
       Effective January 1, 2019, Senate Bill No. 1437 (2017–2018 Reg. Sess.) (Senate
Bill No. 1437) “altered the substantive law of murder in two areas.” (People v. Curiel
(2023) 15 Cal.5th 433, 448 (Curiel).) First, the bill narrowed the scope of the felony-
murder rule.6 (§ 189, subd. (e); accord, People v. Arellano (2024) 16 Cal.5th 457, 467–
468.) Second, the bill “eliminate[d] liability for murder as an aider and abettor under the
natural and probable consequences doctrine” by requiring that, “except in cases of felony
murder, ‘a principal in a crime shall act with malice aforethought’ to be convicted of
murder.” (Curiel, at p. 449, quoting § 188, subd. (a)(3).) Now, “ ‘[m]alice shall not be
imputed to a person based solely on his or her participation in a crime.’ ” (Curiel, at
p. 449.)
       Additionally, Senate Bill No. 1437 added former section 1170.95, now section
1172.6, to provide a procedure for those convicted of a qualifying offense “ ‘to seek
relief’ where the two substantive changes described above affect a defendant’s
conviction.” (Curiel, supra, 15 Cal.5th at p. 449.) Subsequently, Senate Bill No. 775
(2021–2022 Reg. Sess.) expanded the scope of these ameliorative provisions to “clarif[y]
that persons who were convicted of attempted murder or manslaughter” are permitted the
same relief as those convicted of murder. (Stats. 2021, ch. 551, § 1, subd. (a); accord,
People v. Arellano, supra, 16 Cal.5th at p. 468, fn. 3.)
       Under section 1172.6, an offender seeking resentencing must first file a petition in
the sentencing court, and the sentencing court must determine whether the petitioner has


       6 The felony-murder rule is not at issue in the instant appeal.



                                              7.
made a prima facie showing that he or she is entitled to relief. (§ 1172.6, subds. (a)–(c);
accord, People v. Strong (2022) 13 Cal.5th 698, 708.) If the sentencing court determines
the petitioner has made a prima facie showing, the court must issue an order to show
cause and hold a hearing to determine whether to vacate the murder or attempted murder
conviction. (§ 1172.6, subds. (c), (d)(1).)
           At this evidentiary hearing, “the burden of proof shall be on the prosecution to
prove, beyond a reasonable doubt, that the petitioner is guilty of murder or attempted
murder under California law as amended by the changes to Section 188 or 189 made
effective January 1, 2019.” (§ 1172.6, subd. (d)(3).) “If the prosecution fails to sustain
its burden of proof, the prior conviction, and any allegations and enhancements attached
to the conviction, shall be vacated and the petitioner shall be resentenced on the
remaining charges.” (Ibid.)
B.         Standard of Review
           Because the trial court’s review was based on a “cold record” and not live
testimony, petitioner contends we should independently review the record to determine
whether it supports a finding beyond a reasonable doubt that petitioner acted with intent
to kill.
           Our Supreme Court has confirmed that the denial of a section 1172.6 petition
following an evidentiary hearing ordinarily is reviewed for substantial evidence unless
the appeal involves a question of law. (People v. Reyes (2023) 14 Cal.5th 981, 988
(Reyes); accord, People v. Njoku (2023) 95 Cal.App.5th 27, 43.) Petitioner does not
address Reyes but nonetheless argues, based in part on People v. Vivar (2021) 11 Cal.5th
510 (Vivar), that this principle does not apply where the underlying record relied on by
the finder of fact is documentary.
           As petitioner recognizes, every court to consider this argument has rejected it.
(E.g., People v. Underwood (2024) 99 Cal.App.5th 303, 313; People v. Njoku, supra, 95
Cal.App.5th at p. 42; People v. Werntz (2023) 90 Cal.App.5th 1093, 1109, review granted

                                                 8.
Aug. 9, 2023, S280278; People v. Oliver (2023) 90 Cal.App.5th 466, 480; People v.
Sifuentes (2022) 83 Cal.App.5th 217, 232–233; People v. Mitchell (2022) 81 Cal.App.5th
575, 590–591; People v. Clements (2022) 75 Cal.App.5th 276, 283, 302.) Moreover, our
Supreme Court has rejected a similar argument in the context of a Proposition 36 petition
for recall of sentence. (People v. Perez (2018) 4 Cal.5th 1055, 1066.) We agree with the
analysis of these courts. The trial court’s decision in Vivar involved predominately legal
questions (Vivar, supra, 11 Cal.5th at p. 524), and “multiple factors with special
relevance” in the specific context of section 1473.7 (Vivar, at p. 527). Meanwhile, the
question at issue here is a question of fact. In this context, we “ ‘defer to the factual
determinations made by the trial court,’ regardless of ‘whether the trial court’s ruling[s
are based] on oral testimony or declarations.’ ” (Vivar, at p. 528, fn. 7.)
       Accordingly, substantial evidence review is the proper standard of review for the
trial court’s factual findings following a section 1172.6 evidentiary hearing. “Under this
standard, we review the record ‘ “ ‘in the light most favorable to the judgment below to
determine whether it discloses substantial evidence—that is, evidence which is
reasonable, credible, and of solid value—such that a reasonable trier of fact could find the
defendant guilty beyond a reasonable doubt.’ ” ’ ” (Reyes, supra, 14 Cal.5th at p. 988.)
C.     Analysis
       Petitioner contends substantial evidence does not support a finding that he acted
with intent to kill.7 We disagree.
       “To prove the crime of attempted murder, the prosecution must establish ‘the
specific intent to kill and the commission of a direct but ineffectual act toward
accomplishing the intended killing.’ ” (People v. Canizales (2019) 7 Cal.5th 591, 602.)
Here, video evidence showed petitioner and Garcia chasing, beating, and kicking


       7 Petitioner does not contest the sufficiency of the evidence to support the
remaining elements of attempted murder.


                                              9.
Alejandro about the head and neck while Alejandro was either on the ground or
attempting to escape. Garcia retrieved an object from another inmate and made stabbing
motions at Alejandro. During and after this time, petitioner continued to beat Alejandro
about the head and neck and, at one point, attempted to stomp on his head. Petitioner
then put his arm around Alejandro’s neck and pulled in a choking-type motion, while
Alejandro struggled with petitioner in a large pool of blood. Petitioner did not stop until
law enforcement responded to the altercation. The foregoing facts are sufficient to
support the trial court’s finding that petitioner harbored an intent to kill.
        Petitioner contends the victim’s injuries, which petitioner characterizes as
superficial, were indicative of the amount of force used and suggest the force was not
intended to kill. According to petitioner, this evidence could suggest that petitioner only
intended to cause injury and had no expectation that he or his codefendant would cause
the victim’s death. While such inferences may be supported by the evidence, this
argument merely asks us to reweigh the evidence, which we may not do. (People v.
Alexander (2010) 49 Cal.4th 846, 917.)
        Substantial evidence supports the trial court’s finding that petitioner acted with
intent to kill.
                                       DISPOSITION
        The order denying the petition for resentencing is affirmed.



                                                                         DETJEN, Acting P. J.
WE CONCUR:



FRANSON, J.



PEÑA, J.


                                              10.
